' Case 2:03-cv-02939-.]DB-dkv Document 146 Filed 06/20/05 Page 1 of 3 Page|D 122

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lN THE UNITED STATES DISTRICT COURT l ` "" ""
POR THE WESTERN DISTRICT OF TENNESSEEO';'\ J§_|§.} 20 PM 5: 50

 

 

WESTERN DIVISION
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i;§;i~i W,DH 'T':.~'~° TN. MEMPHJS
ELLIPSIS, INC., '
Plaintiff,
v. Civil Action No. 03-2939 BV
JURY DEMANDED
THE COLOR WORKS, INC.,
Defendant.

 

[PRO¥OSE'B] ORDER CONTINUING TRIAL DATE
AND RESETTING PRETRIAL DATES

 

BEFORE THE COURT is the Motion of Ellipsis, Inc. and Mary Elizabeth Wade for
Continuance of Trial Date. IT APPEARS TO THE COURT that the Motion is well taken and that
The Color Works, lnc. consents to the relief requested For good cause shown, the Motion is

GRANTED, as follows:

A IURY TRIAL has been SET before United States Judge J. Daniel Breen on Monday,

|!L&h QD, 2006, at 9:30 a.m. in Courtroom l, llth floor of the Federal Building, Memphis,

Tennessee.

A PRETRIAL CONFERENCE will be held on Monday, Ma_g;h_|_§, 2006, at M\in
Courtroorn l, llth floor of the Federal Building, Mernphis, Tennessee.

A PROPOSED JOINT PRETR_IAL ORDER (hard copy and on diskette) must be furnished

to the Judge’s chambers by Monday, _Mg&h_']_, 2006. Please see instructions attached to April

7, 2004 Notice of Setting.

Th|s document entered on the dock t sheet lig compliance %@
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with Rule 53 and/or 79(a) FRcP on ig Ql‘b 2

Case 2:03-cv-O2939-.]DB-dkv Document 146 Filed 06/20/05 Page 2 of 3 Page|D 123

¢,J\
so oRDERED this 20 day OfJune, 2005.

J L BREEN \
.s. ISTRICT JUDGE

  

 

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This notice confirms a copy of the document docketed as number 146 in
case 2:03-CV-02939 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

